
RYDER, Acting Chief Judge.
Appellant was convicted of five counts of possession of cocaine with intent to sell and five counts of sale of cocaine in violation of section 893.13(l)(a)(l), Florida Statutes (1985). Each count of sale corresponded to a count of possession with intent to sell which arose from the same act. Appellant contends that conviction of both possession of cocaine with intent to sell and conviction of sale of that same cocaine violates the double jeopardy clauses of the United States and Florida Constitutions. We agree. See Gordon v. State, 528 So.2d 910 (Fla. 2d DCA 1988).
We reverse and remand with instructions to vacate either the convictions for possession of cocaine with intent to sell or the convictions for sale of cocaine. The trial court must recalculate the sentence for the remaining counts without the improper counts being scored.
DANAHY and THREADGILL, JJ., concur.
